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TO:         Plan Commission

FROM:       Timothy M. Parks, Planner

DATE:       October 28, 2019

SUBJECT:    ID 56839 - Repealing Section 28.022- 00117 of the Madison General Ordinances adopting the
            Campus Master Plan for Edgewood College, Edgewood High School and Edgewood Campus
            School.


On July 31, 2019, Edgewood College, Edgewood High School and Edgewood Campus School (collectively
referred to as "Edgewood") jointly filed a request seeking repeal of the campus master plan approved by
the Common Council for the shared 55-acre campus on April 8, 2014 by Ordinance 14-00082. The Plan
Commission held a public hearing and took extensive public testimony on the repeal at its August 26, 2019
meeting prior to recommending referral of the matter to September 16. The Common Council instead
referred this item to the October 14 Plan Commission meeting and October 15 Council meeting. On
October 10, the Edgewood institutions further requested referral to the October 28 Plan Commission
meeting and November 5 Council meeting.

In recommending referral of the repeal request on August 26, members of the Plan Commission requested
more information on the impacts of repeal, the relationship between repealing the master plan and the
proposed changes to the Campus-Institutional (Cl) zoning district, and the status of the agreements that
governed the property before the property was zoned Cl. This memo briefly summarizes staff's
perspective on those three questions.

Effects of Repeal

As noted in the August 26 staff memo for the repeal, a campus master plan is a voluntary framework that
institutions previously zoned Cl like Edgewood could pursue to guide the uses and development of their
property instead of pursuing conditional use approvals. Likewise, staff believes that is also possible for an
institution to ask to no longer be governed by an approved master plan, or to not pursue re-approval of
their master plan after the ten-year effective period of those plans expires . In this case, if the repeal
request is approved by the Common Council, the Edgewood campus will be subject to the provisions in
Section 28.097 of the Zoning Code and be put on the same footing as other Cl Institutions without campus
master plans. That would also be the case if Edgewood chose not to seek re-approval of their master plan
after the current plan expires on November 6, 2025 (ten years after final staff approval of the 2014 plan).

Staff would note that, once repealed, the Edgewood Campus Master Plan would become at most a historic
footnote. Any projects enumerated in the former master plan submitted subsequently for conditional use
approval should not assume that approval will be granted by virtue of reference in the 2014 plan. Also,
provisions in the 2014 master plan related to the future development of "Site One" adjacent to Edgewood
High School' s athletic complex and Woodrow Street; enrollment projections for the three institutions; the
architectural review committee; and transportation-related elements, will no longer be enforceable.
Those items would instead be addressed through the conditional use process on a project by project basis.

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                                                                              For the Record, Inc-.-

                                               Exhibit DD                       (608) 833-0392
                                                                                                        CITY-DEF-005573
                                        Sarah Zylstra Declaration
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Impact of Recent Revisions to Section 28.097

On October 1, 2019 the Common Council adopted the Third Substitute for Ordinance 19-00069 (ID 56981),
amending various provisions in the Cl zoning district of the Zoning Code . The Plan Commission
recommended approval of the third substitute at its September 16 meeting.

The approved text amendment more clearly delineates the difference between indoor and outdoor uses
and clarifies that the construction of a new building or additions to existing buildings that exceed 4,000
square feet in floor area within any five-year period in a Cl district without an adopted master plan require
conditional use approval. Further, the amendment requires that primary and secondary uses occurring
outside of enclosed buildings obtain conditional use approval, including outdoor sports and recreational
facilities, surface parking, utilities and transportation facilities, and open stadiums and arenas, except that
the Zoning Administrator may issue permits to repair or replace any existing facility related to a primary
or secondary use if the proposed facility is of a similar built condition and at a similar location on the
zoning lot as the existing facility. The approved text amendment also adds "places of worship" as a primary
use in Cl zoning, whereas it had previously been a secondary use.

In the event that the repeal of the Edgewood Campus Master Plan is approved as requested by the three
Edgewood institutions, the campus would be subject to the provisions in Section 28.097 of the Zoning
Code as amended on October 1, which are applicable to all Cl districts without adopted master plans.

Status of agreements that governed the Edgewood Campus before the 2014 master plan

The Cl zoning master plan adopted in 2014 includes references to agreements and memorandums of
understanding dating back to 1997 and the Plan Commission adoption of a master plan to guide the use
and development of the Edgewood Campus on October 2, 1995. Those items are referenced in Section
4.2 and 4.3 of the 2014 master plan. As best as staff can tell, the future enforcement of those agreements
would be on an ad hoc basis between the Edgewood institutions and the adjacent Vilas and Dudgeon -
Monroe neighborhoods. The City had minimal or no enforcement authority over those agreements prior
to adoption of the 2014 campus master plan, which would continue if the 2014 master plan is repealed.

The master plan that preceded the Cl zoning district master plan adopted on April 8, 2014 by Ordinance
14-00082 was adopted only by the Plan Commission, not the Common Council, and the record of that
approval does not indicate under what authority the Plan Commission adopted the plan. The origins of
the mid-1990s master plan appear to be rooted in an agreement between the Edgewood institutions and
the then alders of Districts 10 and 13, which bordered the campus at that time. The agreement to prepare
a master plan was incorporated into the conditions of approval for a conditional use for a dormitory for
Edgewood College approved on November 1, 1993. The "1997 master plan" referenced in the 2014
document is believed to be the final document that followed the October 1995 Plan Commission approval.

Because staff cannot determine the basis under by the 1995 master plan was approved, and because the
Common Council adopted the Cl zoning master plan subsequently (following a favorable recommendation
by the Plan Commission), staff feels that the 1995/1997 master plan is moot, and any agreements that it
contained between Edgewood, its neighbors, and the Plan Commission are no longer enforceable by the
City. Staff believes that the same is true of any conditions attached to the various conditional use
approvals granted prior to adoption of the 2014 master plan dating back to the R2 zoning of the campus
prior to 2013, when the property was zoned Cl. However, because those conditions were appended to




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improvements to the campus, it may be possible to condition future alterations to the conditional uses
on the campus as part of their review by the Plan Commission (if those conditions are still relevant) .

Conclusion
In closing, the Planning Division believes that the standards for zoning map amendments are met and that
the Plan Commission should recommend to the Common Council that it approve Edgewood's request to
repeal its voluntary Campus Master Plan. As the proposed ordinance repeals the previous land use
approval granted in 2014 and any conditions of same and effectively returns the Edgewood campus to the
status it had prior to April 8, 2014, staff does not believe that conditions of approval may be placed on the
pending repeal request .




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